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 7 Proposed Special Counsel to Richard A. Marshack

 8

 9                              UNITED STATES BANKRUPTCY COURT
10               CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
11

12 In re:                                            Case No.: 8:23-bk-10571-SC

13 THE LITIGATION PRACTICE GROUP P.C.,               Adv. Proc. No. 8:23-ap-01046-SC

14          Debtor.                                  Chapter 11

15                                                   PROOF OF SERVICE
   RICHARD A. MARSHACK,
16 Chapter 11 Trustee,

17                       Plaintiff,
18                         v.
19 TONY DIAB, an individual; DANIEL S.
   MARCH, an individual; ROSA BIANCA LOLI,
20 an individual; LISA COHEN, an individual;
   WILLIAM TAYLOR CARSS, an individual;
21 ENG TANG, an individual; MARIA EEYA TAN,
   an individual; JAKE AKERS, an individual; HAN
22 TRINH, an individual; JAYDE TRINH, an
   individual; WES THOMAS, an individual;
23 SCOTT JAMES EADIE, an individual; JIMMY
   CHHOR, an individual; DONGLIANG JIANG,
24 an individual; OAKSTONE LAW GROUP PC;
   GREYSON LAW CENTER PC; PHOENIX
25 LAW GROUP, INC.; MAVERICK
   MANAGEMENT, LLC; LGS HOLDCO, LLC;
26 CONSUMER LEGAL GROUP, P.C.; VULCAN
   CONSULTING GROUP LLC; B.A.T. INC. d/b/a
27 COAST PROCESSING; PRIME LOGIX, LLC;
   TERACEL BLOCKCHAIN FUND II LLC;
28 EPPS; EQUIPAY; AUTHORIZE.NET; WORLD
   GLOBAL; OPTIMUMBANK HOLDINGS, INC.
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 1 d/b/a OPTIMUM BANK; MARICH BEIN, LLC;
   BANKUNITED, N.A.; REVOLV3, INC.;
 2 FIDELITY NATIONAL INFORMATION
   SERVICES, INC. d/b/a FIS; WORLDPAY, INC.;
 3 WORLDPAY GROUP; MERIT FUND, LLC;
   GUARDIAN PROCESSING, LLC; THE
 4 UNITED STATES POSTAL SERVICE; and
   DOES 1 through 100, inclusive,
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                       Defendants.
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                                          PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 _and not a party to this bankruptcy case or adversary proceeding. My business address is:

1202 Kettner Blvd., Suite A, San Diego, CA 92101

            A true and correct copy of the foregoing document entitled (specify

1. 2023_06_01 Letter from JBF to Non-Parties re Orders and Summons and Complaint

2. 2023_05_08 (ECF 65) Court Order Approving the US Trustee's Application for Appointment of
Chapter11                                    Trustee

3. 2023_06_06 (ECF 25) Summons and N otice of Status Conference in Adversary Proceeding

4. 2023_05_26 Advers�ry Complaint for (1) Injunctive Relief; (2) Avoidance, Recovery, and
Preservation of Two-Year Actual F·raudulent Transfers; (3) Avoidance, Recovery, and Preservation
of Two-Year Actual Fraudulent Tr�nsfers; (4) Avoidance, Recovery, and Preservation of Two-Year
Actual Fraudulent Transfers; (5) Avoidance, Recovery, and Preservation of Two-Year Actual Fraudulent
Transfers; and (6) Turnover

 5. Certified copy of Court Order on Trustee, Richard Marshack's Omnibus Emergency Motion for:
(1) Turnover of Estate Property and Recorded Information Pursuant to 11 USC § 542; (2)
Preliminary Injunction; (3) Lock-Out; (4) Re-Direction of United States Parcel Services Mail; (5)
Order to Show Cause re Compliance with Court Order; and (6) Other Relief as Necessary to Efficient
Administration of ThisMatter

 6. Amended Court Order on Trustee, Richard Marshack's Omnibus Emergency Motion for:
(1) Turnover of Estate Property and Recorded Information Pursuant to 11 USC § 542; (2)
Preliminary Injunction; (3) Lock-Out; (4) Re-Direction of United States Parcel Services Mail; (5)
Order to Show Cause re Complianc� with Court Order; and (6) Other Relief as Nec,t.: ssary to Efficient
Administration of This Matter

will be served or was se;ved (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                        D    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)------� I served the following persons and/or entities at u,·e last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
            This form is mandatory. 'It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:23-ap-01046-SC                    Doc 56 Filed 06/13/23 Entered 06/13/23 16:55:06                                      Desc
                                                  Main Document    Page 4 of 4



first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                        D    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (elate) _______, I served
the following persons and/or entities by personal delivery, overnight mail service,. or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.                   ,'

4. VIA PERSONAL SERVICE/DELIVERY


Service location:     300 Deschutes Way SW, Suite 208 MC-CSCI Tumwater, Washington 98501

Service Recipient:      Amazon.com, Inc., accepted by Ellen Jones for Corporation Service Company, Registered
Agent

Delivered on June       8th
                              . 2023 at 12:05PM


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 6/13/23            Ken Roswell, RPS#2022-21
 Date                             Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
